THE REV. ALBERT
              Case C.   JONES
                      2:21-cv-02504-SVW-SK            Document         15 Filed 06/03/21 Page 1 of 2 Page ID #:47
americadiversityplace@gmail.com
Publisher and Screenwriter                                                                                                FILED
                                                                                                                CLERK, U.S. DISTRICT COURT
Sole Proprietor, Doing Business As
America, The Diversity Place (formerly Utah, The Diversity Place)
130 South 500 East, Suite 307                                                                                     June 3, 2021
Salt Lake City, UT 84102
(801) 364-4187
                                                                                                             CENTRAL DISTRICT OF CALIFORNIA
REPRSENTING SELF IN REGARDS TO FILING OF AMICUS CURIAE:                                                                  PMC
                                                                                                                BY: ___________________ DEPUTY

                                                     UNITED STATES DISTRICT COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

THE REV. ALBERT C. JONES, AMICUS CURIAE:


JAMES HUNTSMAN,                                                                  Case No. 2:21-cv-02504 SVW (SKx)
                        Plaintiff,
v.                                                                               Complaint Filed: March 23, 2021
CORPORATION OF THE PRESIDENT
OF THE CHURCH OF JESUS CHRIST                                                    Judge: Stephen V. Wilson
OF LATTER-DAY SAINTS; and Does
1-10,                                                                            Answer to Compliant

                                            Defendant                            Filed May 5, 2021


                                        MOTION REQUESTING CONTINUANCE
TO THE HONORABLE COURT:

        COMES NOW Amicus Curiae, Friend of the Court, the undersigned, respectfully informs, states and prays:

        1. Hearing for Case No. 2:21-cv-02504 SVW (SKx) is scheduled for June 28, 2021. For the foregoing reasons, Amicus Curiae petitions

        The Honorable Court to set aside that hearing date in favor of a date in mid-August or beyond.

        2. In brief filings and widely reported in media throughout the United States, but not limited to the United States, statements and counter

        statements were made regarding the history of specific groups experiencing severe discrimination regarding policies dating back to 1847,

        perhaps before then. Amicus Curiae is a member of a certain group, a articular group, belongs to that group, to which allegations of a

        history of discrimination apply and has been doing diversity and inclusion work (missions) in Utah since March 2006..

        3. Twelve reputable law firms, Los Angeles-based and/or state national associations were contacted requesting pro bono representation in

        regards to filing an amicus curiae in these matters before the Honorable Court. All who replied gave unfavorable responses, including:

        “Dear Mr. Jones - Unfortunately we cannot assist on this matter. You may wish to contact counsel for the side you are

        looking to support to see if they are aware of other amicus and counsel that might be available to assist.”

        4. Amicus Curiae has compiled 29 or 30 exhibits in support of filing a Friend of the Court Brief. Additional time, however, is required

        to adequately present an argument to which the Honorable Court might persuade plaintiff and defendant to react harmoniously to

        stipulations toward reaching conciliation that all parties might be made whole, including and especially Amicus Curiae.

        WHEREFORE, Amicus Curiae , at once and simultaneously UTAH, THE DIVERSTIY PLACE and AMERICA, THE DIVERSITY

        PLACE, respectfully requests from this Honorable Court that the hearing scheduled for June 28, 2021 be continued to mid August,

        allowing for adequate time to represent SELF and the cause of many in preparation of a Friend of the Court Brief.
James Huntsman
            Case      2:21-cv-02504-SVW-SK Document 15 Filed 06/03/21 Page 2 of 2 Page ID #:48
vs.
Corporation of the President
of the Church of Jesus Christ
of Latter-day Saints

——————————————————————————————————————————————————————————-


         HEREBY CERTIFY: That a true and exact copy of this document was electronically filed in the court’s system and will be sent through

that means to the attorneys of record.

         RESPECTFULLY SUBMITTED in Los Angeles, California, this day of June 3, 2021.




                                                                                                       THE REV. ALBERT C. JONES
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